Case: 2:22-cv-02653-ALM-CMV Doc #: 106-9 Filed: 06/05/24 Page: 1 of 3 PAGEID #: 3365




                 Attachment A
Case: 2:22-cv-02653-ALM-CMV Doc #: 106-9 Filed: 06/05/24 Page: 2 of 3 PAGEID #: 3366




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO

  STUDENT RESOURCE CENTER,  )
  LLC,                      )
                            )
       Plaintiff,           )
                            )                                Case No. 2:22-cv-2653
  v.                        )
                            )                                Chief Judge Algenon L. Marbley
  EASTERN GATEWAY COMMUNITY )
  COLLEGE,                  )                                Magistrate Judge Chelsey M.
                            )                                Vascura
       Defendant.           )


                                                  NOTICE

           You are hereby notified that Student Resource Center, LLC, 401 N. Michigan Ave., #3300,

 Chicago, IL 60611, the plaintiff in this proceeding, has applied to this court for the attachment of property

 in your possession. The basis for this application is indicated in the documents that are enclosed with this

 notice.

           The law of Ohio and the United States provides that certain benefit payments cannot be taken

 from you to pay a debt. Typical among the benefits that cannot be attached or executed on by a creditor

 are:

           (1) Workers' compensation benefits;

           (2) Unemployment compensation payments;

           (3) Cash assistance payments under the Ohio works first program;

           (4) Benefits and services under the prevention, retention, and contingency program;

           (5) Disability financial assistance administered by the Ohio department of job and family

           services;

           (6) Social security benefits;

           (7) Supplemental security income (S.S.I.);

           (8) Veteran's benefits;
Case: 2:22-cv-02653-ALM-CMV Doc #: 106-9 Filed: 06/05/24 Page: 3 of 3 PAGEID #: 3367



         (9) Black lung benefits;

         (10) Certain pensions.

 Additionally, your wages never can be taken to pay a debt until a judgment has been obtained against you.

 There may be other benefits not included in this list that apply in your case.

         If you dispute the plaintiff's claim and believe that you are entitled to retain possession of the

 property because it is exempt or for any other reason, you may request a hearing before this court by

 disputing the claim in the request for hearing form appearing below, or in a substantially similar form,

 and delivering the request for the hearing to this court, at the office of the clerk of this court, not later than

 the end of the fifth business day after you receive this notice. You may state your reasons for disputing

 the claim in the space provided on the form, but you are not required to do so. If you do state your reasons

 for disputing the claim in the space provided on the form, you are not prohibited from stating any other

 reasons at the hearing, and if you do not state your reasons, it will not be held against you by the court and

 you can state your reasons at the hearing.

         If you request a hearing, it will be conducted in courtroom __________, 85 Marconi Blvd., at

 __________ (time) on _______________ (date), _____ (year).

         You may avoid having a hearing but retain possession of the property until the entry of final

 judgment in the action by filing with the court, at the office of the clerk of this court, not later than the end

 of the fifth business day after you receive this notice, a bond executed by an acceptable surety in the

 amount of $14,682,210.

         If you do not request a hearing or file a bond on or before the end of the fifth business day after

 you receive this notice, the court, without further notice to you, may order a law enforcement officer or

 bailiff to take possession of the property. Notice of the dates, times, places, and purposes of any

 subsequent hearings and of the date, time, and place of the trial of the action will be sent to you.

                                                 _________________________________________

                                                 Clerk of Court

                                                 Date: ____________________________________
